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Fax: 702-388-6261 Rene L. Valladares

Michael J. Kennedy

Chief, Trial Unit
First Assistant

Michael Pescetta

Haheas Resource Counsel

September 6, 2007

Ms. Ruthanne Schaeffer

Lloyd D. George Federal Courthouse
333 Las Vegas Blvd. So.

Las Vegas, NV 89101

Re: Lori Ann Ambriz

Dear Ms. Schaeffer:

Enclosed please find a Financial Affidavit for Lori Ann Ambriz. Ms. Ambriz believes that she
is going to be charged with embezzlement by her former employer JGB Enterprises. At this time, we
have opened this case as aconsultation. Shari Kaufman will represent Ms. Ambriz in this matter should
charges be filed.

Thank you for your attention to this matter .

Sincerely,

Te. ——

Rene L. Valladares
Assistant Federal Public Defender
Chief, Trial Unit

Enclosure
